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                     EXHIBIT A
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                                            April 11, 2025
Dr. Alan M. Garber
President
Harvard University
Office of the President
Massachusetts Hall
Cambridge, MA 02138

Penny Pritzker
Lead Member, Harvard Corporation
Harvard Corporation
Massachusetts Hall
Cambridge, MA 02138

Dear Dr. Garber:
The United States has invested in Harvard University’s operations because of the value to the
country of scholarly discovery and academic excellence. But an investment is not an entitlement. It
depends on Harvard upholding federal civil rights laws, and it only makes sense if Harvard fosters
the kind of environment that produces intellectual creativity and scholarly rigor, both of which are
antithetical to ideological capture.
Harvard has in recent years failed to live up to both the intellectual and civil rights conditions that
justify federal investment. But we appreciate your expression of commitment to repairing those
failures and welcome your collaboration in restoring the University to its promise. We therefore
present the below provisions as the basis for an agreement in principle that will maintain Harvard’s
financial relationship with the federal government.
If acceptable to Harvard, this document will constitute an agreement in principle, which the parties
will work in good faith to translate into a more thorough, binding settlement agreement. As you will
see, this letter incorporates and supersedes the terms of the federal government’s prior letter of April
3, 2025.
   ●​ Governance and leadership reforms. By August 2025, Harvard must make meaningful
      governance reform and restructuring to make possible major change consistent with this
      letter, including: fostering clear lines of authority and accountability; empowering tenured
      professors and senior leadership, and, from among the tenured professoriate and senior
      leadership, exclusively those most devoted to the scholarly mission of the University and
      committed to the changes indicated in this letter; reducing the power held by students and
      untenured faculty; reducing the power held by faculty (whether tenured or untenured) and
      administrators more committed to activism than scholarship; and reducing forms of
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   governance bloat, duplication, or decentralization that interfere with the possibility of the
   reforms indicated in this letter.
●​ Merit-Based Hiring Reform. By August 2025, the University must adopt and implement
   merit-based hiring policies, and cease all preferences based on race, color, religion, sex, or
   national origin throughout its hiring, promotion, compensation, and related practices among
   faculty, staff, and leadership. Such adoption and implementation must be durable and
   demonstrated through structural and personnel changes. All existing and prospective faculty
   shall be reviewed for plagiarism and Harvard’s plagiarism policy consistently enforced. All
   hiring and related data shall be shared with the federal government and subjected to a
   comprehensive audit by the federal government during the period in which reforms are
   being implemented, which shall be at least until the end of 2028.
●​ Merit-Based Admissions Reform. By August 2025, the University must adopt and
   implement merit-based admissions policies and cease all preferences based on race, color,
   national origin, or proxies thereof, throughout its undergraduate program, each graduate
   program individually, each of its professional schools, and other programs. Such adoption
   and implementation must be durable and demonstrated through structural and personnel
   changes. All admissions data shall be shared with the federal government and subjected to a
   comprehensive audit by the federal government—and non-individualized, statistical
   information regarding admissions shall be made available to the public, including
   information about rejected and admitted students broken down by race, color, national
   origin, grade point average, and performance on standardized tests—during the period in
   which reforms are being implemented, which shall be at least until the end of 2028. During
   this same period, the dean of admissions for each program or school must sign a public
   statement after each admissions cycle certifying that these rules have been upheld.
●​ International Admissions Reform. By August 2025, the University must reform its
   recruitment, screening, and admissions of international students to prevent admitting
   students hostile to the American values and institutions inscribed in the U.S. Constitution
   and Declaration of Independence, including students supportive of terrorism or
   anti-Semitism. Harvard will immediately report to federal authorities, including the
   Department of Homeland Security and State Department, any foreign student, including
   those on visas and with green cards, who commits a conduct violation. As above, these
   reforms must be durable and demonstrated through structural and personnel changes;
   comprehensive throughout all of Harvard’s programs; and, during the reform period, shared
   with the federal government for audit, shared on a non-individualized basis with the public,
   and certified by deans of admissions.
●​ Viewpoint Diversity in Admissions and Hiring. By August 2025, the University shall
   commission an external party, which shall satisfy the federal government as to its
   competence and good faith, to audit the student body, faculty, staff, and leadership for
   viewpoint diversity, such that each department, field, or teaching unit must be individually
   viewpoint diverse. This audit shall begin no later than the summer of 2025 and shall proceed
   on a department-by-department, field-by-field, or teaching-unit-by-teaching-unit basis as
   appropriate. The report of the external party shall be submitted to University leadership and
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   the federal government no later than the end of 2025. Harvard must abolish all criteria,
   preferences, and practices, whether mandatory or optional, throughout its admissions and
   hiring practices, that function as ideological litmus tests. Every department or field found to
   lack viewpoint diversity must be reformed by hiring a critical mass of new faculty within
   that department or field who will provide viewpoint diversity; every teaching unit found to
   lack viewpoint diversity must be reformed by admitting a critical mass of students who will
   provide viewpoint diversity. If the review finds that the existing faculty in the relevant
   department or field are not capable of hiring for viewpoint diversity, or that the relevant
   teaching unit is not capable of admitting a critical mass of students with diverse viewpoints,
   hiring or admissions within that department, field, or teaching unit shall be transferred to the
   closest cognate department, field, or teaching unit that is capable of achieving viewpoint
   diversity. This audit shall be performed and the same steps taken to establish viewpoint
   diversity every year during the period in which reforms are being implemented, which shall
   be at least until the end of 2028.
●​ Reforming Programs with Egregious Records of Antisemitism or Other Bias. By
   August 2025, the University shall commission an external party, which shall satisfy the
   federal government as to its competence and good faith, to audit those programs and
   departments that most fuel antisemitic harassment or reflect ideological capture.
       o​ The programs, schools, and centers of concern include but are not limited to the
          Divinity School, Graduate School of Education, School of Public Health, Medical
          School, Religion and Public Life Program, FXB Center for Health & Human Rights,
          Center for Middle Eastern Studies, Carr Center for Human Rights at the Harvard
          Kennedy School, Department of Near Eastern Languages and Cultures, and the
          Harvard Law School International Human Rights Clinic.
       o​ The report of the external party shall include information as to individual faculty
          members who discriminated against Jewish or Israeli students or incited students to
          violate Harvard’s rules following October 7, and the University and federal
          government will cooperate to determine appropriate sanctions for those faculty
          members within the bounds of academic freedom and the First Amendment.
       o​ The report of the external party shall be submitted to University leadership and the
          federal government no later than the end of 2025 and reforms undertaken to repair
          the problems. This audit shall be performed and the same steps taken to make repairs
          every year during the period in which reforms are being implemented, which shall be
          at least until the end of 2028.
●​ Discontinuation of DEI. The University must immediately shutter all diversity, equity, and
   inclusion (DEI) programs, offices, committees, positions, and initiatives, under whatever
   name, and stop all DEI-based policies, including DEI-based disciplinary or speech control
   policies, under whatever name; demonstrate that it has done so to the satisfaction of the
   federal government; and demonstrate to the satisfaction of the federal government that these
   reforms are durable and effective through structural and personnel changes. By August
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   2025, the University must submit to the government a report—certified for accuracy—that
   confirms these reforms.
●​ Student Discipline Reform and Accountability. Harvard must immediately reform its
   student discipline policies and procedures so as to swiftly and transparently enforce its
   existing disciplinary policies with consistency and impartiality, and without double
   standards based on identity or ideology. Where those policies are insufficient to prevent the
   disruption of scholarship, classroom learning and teaching, or other aspects of normal
   campus life, Harvard must develop and implement disciplinary policies sufficient to prevent
   those disruptions. This includes but is not limited to the following:
       o​ Discipline at Harvard must include immediate intervention and stoppage of
          disruptions or deplatforming, including by the Harvard police when necessary to stop
          a disruption or deplatforming; robust enforcement and reinstatement of existing time,
          place, and manner rules on campus, including ordering the Harvard police to stop
          incidents that violate time, place, and manner rules when necessary; a disciplinary
          process housed in one body that is accountable to Harvard’s president or other
          capstone official; and removing or reforming institutional bodies and practices that
          delay and obstruct enforcement, including the relevant Administrative Boards and
          FAS Faculty Council.
       o​ Harvard must adopt a new policy on student groups or clubs that forbids the
          recognition and funding of, or provision of accommodations to, any student group or
          club that endorses or promotes criminal activity, illegal violence, or illegal
          harassment; invites non-students onto campus who regularly violate campus rules; or
          acts as a front for a student club that has been banned from campus. The leaders or
          organizers of recognized and unrecognized student groups that violate these policies
          must be held accountable as a matter of student discipline and made ineligible to
          serve as officers in other recognized student organizations. In the future, funding
          decisions for student groups or clubs must be made exclusively by a body of
          University faculty accountable to senior University leadership. In particular, Harvard
          must end support and recognition of those student groups or clubs that engaged in
          anti-Semitic activity since October 7th, 2023, including the Harvard Palestine
          Solidarity Committee, Harvard Graduates Students 4 Palestine, Law Students 4
          Palestine, Students for Justice in Palestine, and the National Lawyers Guild, and
          discipline and render ineligible the officers and active members of those student
          organizations.
       o​ Harvard must implement a comprehensive mask ban with serious and immediate
          penalties for violation, not less than suspension.
       o​ Harvard must investigate and carry out meaningful discipline for all violations that
          occurred during the 2023-2024 and 2024-2025 academic years, including the
          Harvard Business School protest of October 2023, the University Hall sit-in of
          November 2023, and the spring encampment of 2024. This must include
          permanently expelling the students involved in the October 18 assault of an Israeli
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              Harvard Business School student, and suspending students involved in occupying
              university buildings, as warranted by the facts of individual cases.
           o​ The Harvard president and police chief must publicly clarify that the Harvard
              University Police Department will enforce University rules and the law. Harvard
              must also commit to cooperating in good faith with law enforcement.
   ●​ Whistleblower Reporting and Protections. The University must immediately establish
      procedures by which any Harvard affiliate can report noncompliance with the reforms
      detailed in this letter to both university leadership and the federal government. Any such
      reporter shall be fully protected from any adverse actions for so reporting.
   ●​ Transparency and Monitoring. The University shall make organizational changes to
      ensure full transparency and cooperation with all federal regulators. No later than June 30,
      2025, and every quarter thereafter during the period in which reforms are being
      implemented, which shall be at least until the end of 2028, the University shall submit to the
      federal government a report—certified for accuracy—that documents its progress on the
      implementation of the reforms detailed in this letter. The University must also, to the
      satisfaction of the federal government, disclose the source and purpose of all foreign funds;
      cooperate with the federal government in a forensic audit of foreign funding sources and
      uses, including how that money was used by Harvard, its agents, and, to the extent available,
      third parties acting on Harvard’s campus; report all requested immigration and related
      information to the United States Department of Homeland Security; and comply with all
      requirements relating to the SEVIS system.
We expect your immediate cooperation in implementing these critical reforms that will enable
Harvard to return to its original mission of innovative research and academic excellence.
